IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION

UNITED STATES OF AMERICA, no._ XS DD 05 ANH

Plaintiff,
18 U.S.C.§ 2252(a)(2) & (b)(1)
V. NLT 5 Years Imprisonment
NMT 20 Years Imprisonment
NMT $250,000 Fine

JUSTIN WATSON, NLT 5 Years Supervised Release NMT Life
[DOB 08-23-1971] NMT Life Supervised Release
Defendant. Class C Felony

 

$100 Special Assessment

SUPERSEDING INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES THAT:

Between November 1, 2016, and September 15, 2017, in Howell County, in the Western District
of Missouri, the defendant, JUSTIN WATSON, using any means or facility of interstate or foreign
commerce, did knowingly receive and distribute any visual depiction that had been mailed and shipped
and transported in interstate commerce, and which contains materials which had been so mailed and
shipped and transported by any means, including by computer, the production of which involved the use
of a minor engaging in sexually explicit conduct and which visual depiction was of such conduct, all in

violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).

TIMOTHY GARRISON
United States Attorney

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Zames ¥. Kelleher
Assistant United States Attorney

DATED: iy, z W/' COs

 

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